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IN THE UNITED STATES DISTRICT COURT &4}'~3 \" §§
FOR THE WESTERN DISTRICT OF TENNESSEE nw ;;/ 45 5>,,

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EASTERN DIVISION '\,,» ;:Ecyfdspqu/q
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UNITED STATES OF AMERICA, ) j
)
Plaintiff, )
)
VS_ ) No. 04-10050-T
)
BILLY WAYNE MOORE, )
)
Det`endant. )

 

ORDER DENYING MOTION TO SUPPRESS EVIDENCE

 

Defendant Billy Wayne Moore, by and through counsel, has moved to suppress the
evidence obtained or seized as a result of the arrest of defendant on or about May 24, 2004.
A hearing on the motion to suppress was held on May 2, 2005, at Which time the court heard
the testimony of witnesses and statements of counsel. Based upon the evidence presented,
and for the reasons stated in open court on May 2, 2005, defendant’s motion to suppress is
denied

IT IS SO ORDERED.

QZ/mo./A<Qr£/L

S D. TODD
TED STATES DISTRICT IUDGE

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DISTRIC COURT - WESTRNE D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:04-CR-10050 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

